   Case 22-06993                Doc 38          Filed 09/29/23 Entered 09/29/23 14:38:06                                    Desc Main
                                                  Document     Page 1 of 1



Please wait...
If this message is not eventually replaced by the proper contents of the document, your PDF
viewer may not be able to display this type of document.

You can upgrade to the latest version of Adobe Reader for Windows®, Mac, or Linux® by
visiting http://www.adobe.com/go/reader_download.

For more assistance with Adobe Reader visit http://www.adobe.com/go/acrreader.
Windows is either a registered trademark or a trademark of Microsoft Corporation in the United States and/or other countries. Mac is a trademark
of Apple Inc., registered in the United States and other countries. Linux is the registered trademark of Linus Torvalds in the U.S. and other
countries.
